Case 25-40055              Doc 2       Filed 03/10/25 Entered 03/10/25 14:41:11                             Desc Main
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                                                                 Certificate Number: RH-25C84454



      BUTTERFLY FINANCIAL EDUCATION, INC.
           CERTIFICATE OF CREDIT
               COUNSELING
                                                 RICKY HUFF



I CERTIFY that on March 5, 2025, at 8:21 PM Eastern Standard Time, RICKY
HUFF received from Butterfly Financial Education, Inc., an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the North Carolina,
Western District, an individual briefing (including a briefing conducted by
telephone or on the internet) that complied with the provisions of 11 U.S.C. §
109(h) and 111. A debt repayment plan was not prepared.




                        Name:                                  Janet L. Swope


                        Title:                                     President


                        Date:                                  March 5, 2025




*Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy Code are required to file

with the United States Bankruptcy Court a completed certificate of counseling from the nonprofit budget and counseling

agency that provided the individual the counseling services and a copy of the debt repayment plan, if any, developed

through the credit counseling agency. See 11 U.S.C. § 109(h) and 521(b).
